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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 United States of America,                                    CR-02-1327(CPS)

                         Plaintiff,
       - against -
                                                              SENTENCING
 Pedro Vasquez,                                               MEMORANDUM


                     Defendant.
 ----------------------------------------X

 SIFTON, Senior Judge.

       Pedro Vazquez (“Vazquez” or “defendant”) pleaded guilty on

 July 25, 2003 to conspiracy to distribute and possess with intent

 to distribute at least 50 grams of cocaine base, at least one

 kilogram of heroin, at least five kilograms of cocaine, and MDMA

 in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A).             Defendant has

 been in custody since his November 12, 2002 arrest.              Now before

 this Court is defendant’s motion, pursuant to 18 U.S.C. §

 3582(c)(2), to modify his sentence.         For the reasons stated

 below, defendant’s motion is denied.

                                 Background

       Defendant pleaded guilty on July 25, 2003 to conspiracy to

 distribute and possess with intent to distribute at least 50

 grams of cocaine base, at least one kilogram of heroin, at least

 five kilograms of cocaine, and MDMA in violation of 21 U.S.C. §§

 846 and 841(b)(1)(A).      Prior to sentencing, however, Vazquez

 objected to the finding in the Presentence Investigation Report

 (“PSR”) that he was accountable for all the drugs distributed by
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 the members of conspiracy in which he was involved and argued he

 should be accountable only for the heroin.               The government, and

 subsequently, the Probation Department agreed, determining that

 it would not have been reasonably foreseeable to Vazquez that

 members of the conspiracy were distributing drugs other than

 heroin.    See U.S.S.G. § 1B1.3(a)(1)(B) (2003).             The Probation

 Department issued a January 21, 2004 Addendum (“Addendum”) to the

 PSR that reflected this determination.1

       At defendant’s January 29, 2004 sentencing, the Court

 adopted the factual findings and guideline application of the PSR

 and the Addendum, except the Court determined that defendant was

 eligible for a further two point reduction in his adjusted

 offense level based on his participation in a global plea.                  Thus,

 the Court found defendant accountable only for 5 kilograms of

 heroin.    This quantity of heroin provided a base offense level of

 34.   Because defendant was accountable for the firearms possessed

 by other members of the conspiracy, the adjusted offense level

 was increased two points to 36.         Thereafter, the Court reduced

 the offense level by seven points; two because Vasquez was

 eligible for the “safety valve” reduction pursuant to U.S.S.G. §

 2D1.1(b)(6) (2003); three for acceptance of responsibility


       1
          Defendant also objected to the PSR’s original conclusion that
 defendant was not eligible for the ‘safety valve’ reduction, pursuant to
 U.S.S.G. § 2D1.1(b)(6) (2003), because he was accountable for the firearm
 possession of other members of the conspiracy. Again, the Probation
 Department agreed and, as set forth in the Addendum, reduced defendant’s
 adjusted offense level a further two points.
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 pursuant to U.S.S.G. § 3E1.1(a) and (b) (2003); and two more due

 to the global plea adjustment.         Defendant’s adjusted offense

 level was 29, with a Criminal History Category of I, and the

 Court accordingly sentenced defendant to 87 months, the bottom of

 the guideline range.

       On November 1, 2007, Amendment 706, as further amended by

 Amendment 711, to U.S.S.G. § 2D1.1, Unlawful Manufacturing,

 Importing, Exporting, or Trafficking (Including Possession with

 Intent to Commit These Offenses); Attempt or Conspiracy, took

 effect.    Amendment 706 generally reduces by two levels the base

 offense levels applicable to cocaine base (“crack”) offenses.                  On

 December 11, 2007, the United States Sentencing Commission (the

 “Sentencing Commission”) voted to apply the amendment

 retroactively to crack offenses, effective March 3, 2008.                The

 Sentencing Commission also promulgated amendments to Policy

 Statement § 1B1.10, Reduction in Term of Imprisonment as a Result

 of Amended Guidelines Range, which implements the retroactive

 application of Amendment 706, as amended by Amendment 711,

 effective March 3, 2008.

       On January 22, 2008 defendant moved, pro se, for a

 modification of his sentence pursuant to Amendment 706, as

 amended by Amendment 711, pursuant to 18 U.S.C. § 3582(c)(2).                  On

 January 29, 2008, the Court issued an order for the defendant to

 show cause why his motion should not be denied.              Defendant
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 responded on February 15, 2008.          The government responded on

 March 28, 2008.2

                                    Discussion

       Pursuant to 18 U.S.C. § 3582(c)(2), the Court may modify the

 sentence of a defendant whose term of imprisonment was based on a

 sentencing range that has since been lowered by the Sentencing

 Commission.3      Because the Sentencing Commission voted to apply

 Amendment 706 retroactively, I may consider defendant’s

 eligibility for a reduction in his sentence.

       Defendant argues that because he pleaded guilty to

 conspiracy to distribute and possess with intent to distribute at

 least 50 grams of cocaine base, at least one kilogram of heroin,

 at least five kilograms of cocaine, and MDMA in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(A), he is eligible for a sentence

 reduction based on the amended Sentencing Guidelines.                It is,

 however, evident that, for sentencing and Guideline purposes,


       2
          The government’s response was filed after the March 21, 2008 deadline
 set by this Court because the government did not receive defendant’s response
 until it was filed via ECF on March 24, 2008.

       3
           18 U.S.C. § 3582 provides, in relevant part:

       Modification of an imposed term of imprisonment. –– The court may not
       modify a term of imprisonment once it has been imposed except that –- in
       the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
       defendant or the Director of the Bureau of Prisons, or on its own
       motion, the court may reduce the term of imprisonment, after considering
       the factors set forth in section 3553(a) to the extent that they are
       applicable, if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.
 18 U.S.C. § 3582(c)(2).
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 defendant was held accountable for only the heroin distributed by

 the conspiracy.     Based on the plain language of § 3582(c)(2)

 defendant’s argument is accordingly without merit, as defendant’s

 sentencing guideline range, 87 to 108 months, has not been

 reduced by the Sentencing Commission.           See also U.S.S.G. §

 1B1.10, p.s., comment. (n.1(A)(i)) (reduction in sentence is not

 consistent with U.S.S.G. 1b1.10, p.s., when “none of the

 amendments . . . is applicable to the defendant”).

                                 Conclusion

       Since defendant’s guideline range remains 87 to 108 months

 under the amended Sentencing Guidelines, defendant’s motion for a

 reduction of his sentence under 18 U.S.C. § 3582(c)(2) is denied.

 The Clerk is directed to transmit a copy of the within to all

 parties and the assigned Magistrate Judge.

 SO ORDERED.

 Dated :     Brooklyn, New York
             April 1, 2008



             By:         /s/ Charles P. Sifton (electronically signed)
                                          United States District Judge
